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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------------------------------X
 UNITED STATES OF AMERICA,                                 :
                                                           :     Case No.: 24-cr-542 (AS)
                    v.                                     :
                                                           :
 SEAN COMBS,                                               :
                                                           :
                                   Defendant.              :
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                  MEMORANDUM OF LAW IN SUPPORT OF NON-PARTY
                                     ’S MOTION TO QUASH




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          Non-party                                      by and through     undersigned counsel,

files this Motion to Quash in connection with the non-party subpoena duces tecum served by

Defendant Sean Combs (“Defendant” or “Combs”) pursuant to Federal Rule of Criminal

Procedure 17. Defendant served                  a subpoena on March 19, 2025. The subpoena

demanded that                 produce: “(1) All draft memoirs, autobiographies, narratives, diaries,

journals or notes                                               , and any communications about

     plans to publish or threaten to publish such a document. (2) All of        bank statements

                                             .” Ex. A.

          In this case, Defendant cannot demonstrate the admissibility of the documents he seeks or

meet the bar of specificity required under the law. As such,               respectfully requests

that the Court quash Defendant’s subpoena.

                                           ARGUMENT

I.        LEGAL STANDARD

          Criminal subpoenas are issued under Fed. R. Crim. Pro. 17 (“Rule 17”). This rule states

that “[a] subpoena may order the witness to produce any books, papers, documents, data, or other

objects the subpoena designates.” Rule 17(c)(1). It also states that “[o]n motion made promptly,

the court may quash or modify the subpoena if compliance would be unreasonable or

oppressive.” Rule 17(c)(2); see also Wright & Miller, 2 Fed. Prac. & Proc. Crim. § 275 (4th ed.)

(“The victim has the right to file a motion to quash or modify the subpoena, or to ‘otherwise

object’ by contacting the court”). The burden of showing good cause is on the party seeking

production and the decision is at the discretion of the Court. U.S. v. Nixon, 418 U.S. 683, 702

(1974).




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       Rule 17 subpoenas on third parties are governed by the standard set out in Nixon. See

United States v. Pena, No. 15 Cr. 551 (AJN), 2016 WL 8735699 (S.D.N.Y. Feb. 12,

2016). Under this standard, the party requesting the subpoena has the burden of showing the “(1)

relevancy [and] (2) admissibility” of the documents sought, and that party must do so with “(3)

specificity.” Nixon, 418 U.S. at 700 (1974). This is no light burden. Id. at 699 (describing the

requirement as a showing that “(1) that the documents are evidentiary and relevant; (2) that they

are not otherwise procurable reasonably in advance of trial by exercise of due diligence; (3) that

the party cannot properly prepare for trial without such production and inspection in advance of

trial and that the failure to obtain such inspection may tend unreasonably to delay the trial; and

(4) that the application is made in good faith and is not intended as a general ‘fishing

expedition.’”) (quoting U.S. v. Iozia, 13 F.R.D. 335, 338 (S.D. N.Y. 1952)). In other words,

criminal subpoenas are not a “discovery device” but “a mechanism for obtaining specific

admissible evidence.” United States v. Barnes, 2008 WL 9359654, at *3 (S.D.N.Y. April 2,

2008); see also U.S. v. Morris, 287 F. 3d 985, 991 (10th Cir. 2002), cert. denied, 536 U.S. 933

(2002) (“Courts have held that requests for an entire file are evidence of an impermissible fishing

expedition. It appears that defense counsel attempted to use the Rule 17(c) subpoena for

impermissible discovery purposes.”) (internal citations omitted).

II.    DEFENDANT’S REQUESTS ARE NOT SPECIFIC

       Defendant requests                  bank statements for a sweeping period of ten months

in 2023. “When counsel ‘merely hopes something useful will turn up, the requirement of

specificity [to enforce a subpoena] will not have been met.’” United States v. Constantine, No.

21 Cr. 530 (SHS), 2023 WL 3045408, at *2 (S.D.N.Y. Apr. 21, 2023) (quoting United States v.

Leaver, 358 F. Supp. 2d 273, 276 (S.D.N.Y. 2005)). Put another way, Rule 17 “allows only for



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WL 1909115, at *3 (D. Or. Apr. 25, 2008) (quashing a defendant’s rule 17 subpoena for

financial records of a witness where defendant argued that the material was relevant to the

witness’s “credibility, bias, and his motive for cooperating with the government”). A criminal

subpoena that seeks private documents to evince some nebulous financial wrongdoing is equally

inappropriate. United States v. Davitashvili, No. 21 Cr. 255, 2022 WL 1265819, at *4 (E.D. Pa.

Apr. 28, 2022) (quashing a Rule 17 subpoena for a witness’s immigration records based on the

“mere hope” that the witness had committed tax fraud, using Rule 17 as a discovery tool).

       Crucially, a defendant has to show that the documents sought are admissible, not that

they are likely to be admissible. See United States v. Shestakov, No. 23 Cr. 16 (JHR), 2025 WL

507523, at *4 (S.D.N.Y. Feb. 14, 2025) (quashing a Rule 17 subpoena for, among other

documents, bank account records as entailing the improper use of Rule 17 as a discovery

tool). This is particularly true in the case of sensitive personal documents like financial records.

See United States v. Shrader, No. 9 Cr. 270, 2010 WL 2836752, at *4 (S.D.W. Va. July 20,

2010), aff'd, 716 F. Supp. 2d 464 (S.D.W. Va. 2010) (collecting cases); see also Arias-Zeballos

v. Tan, No. 06 Civ. 1268 (GEL)(KNF), 2007 WL 210112, at *1 (S.D.N.Y. Jan. 25, 2007)

(holding that a party has a privacy interest in its financial records where they are requested in a

third-party subpoena in a civil case) (collecting cases).

       In short, Defendant’s request does not “‘reasonably specify the information contained or

believed to be contained in the documents sought,’” nor does it establish that the documents are

admissible. Mendinueta-Ibarro, 956 F. Supp. 2d at 513 (quoting United States v. Louis, No. 04

Cr. 203, 2005 WL 180885, at *5 (S.D.N.Y. Jan. 27, 2005)). Accordingly, his subpoena should

be quashed because it fails to meet the bar of specificity. Nixon, 418 U.S. at 700.




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III.   DEFENDANT CANNOT USE A RULE 17 SUBPOENA AS AN ALTERNATIVE
       DISCOVERY DEVICE

       Defendant’s subpoena is defective for another reason. As set out above, Rule 17 is not a

discovery device. See Barnes, 2008 WL 9359654, at *3.                    has already turned over

some of the documents in       possession that are responsive to the first prong of the subpoena to

the Government, and       understands that the Government has, in turn, produced some of these

documents to Combs.

       “Rule 17(c) is not the proper method for obtaining” materials that the Government has an

obligation to disclose. United States v. Cole, No. 19 Cr. 869 (ER), 2021 WL 912425, at *6

(S.D.N.Y. Mar. 10, 2021). A Rule 17 subpoena is only appropriate where it seeks documents

that are not “otherwise procurable” from another source. Nixon, 418 U.S. at 699 (quoting Iozia,

13 F.R.D. at 338). Here, as at least some of the responsive documents are available from the

Government (and                 understands that some of those have been produced), Defendant’s

broad request for “all documents” can only be an end-run to obtain such documents in a way that

would be outside of the Protective Order or for some other inappropriate purpose. See, e.g.,

Cole, 2021 WL 912425, at *6; United States v. Cherry, 876 F. Supp. 547, 552 (S.D.N.Y. 1995)

(“Courts must be careful that Rule 17(c) is not turned into a broad discovery device, thereby

undercutting the strict limitation of discovery in criminal cases found in Fed. R. Crim. P. 16.”);

see also id. (Rule 17 subpoena requests must be made “in good faith”).

IV.    DEFENDANT’S REQUEST AS TO BANK RECORDS AND PERSONAL
       LITERATURE IS PREMATURE

       To the extent that Defendant’s subpoena requests documents that may only be utilized to

impeach                 testimony or character, they are also premature. Such evidence is

improperly sought in a pre-trial Rule 17 subpoena because it “does not become relevant until the

witness testifies.” United States v. Skelos, No. 15 Cr. 317 (KMW), 2018 WL 2254538, at *2

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(S.D.N.Y. May 17, 2018), aff'd, 988 F. 3d 645 (2d Cir. 2021); see also United States v. Xu, No.

23 Cr. 133-5 (JMF), 2024 WL 4504352, at *4 (S.D.N.Y. Oct. 16, 2024) (quashing a defendant’s

Rule 17 subpoena for a witness’s bank records as being sought for impeachment purposes and

therefore irrelevant, among other grounds); United States v. Donziger, No. 11 Civ. 691 (LAK),

2021 WL 1865376, at *5 (S.D.N.Y. May 10, 2021) (quashing subpoenas that the defendant

argued were necessary to understanding the “bias and personal financial motivation” of certain

witnesses). Evidence of                   financial situation during the              time period in

the subpoena, and the wide-ranging request for documents regarding diaries or the publication of

literature                                                 , would be aimed at impeachment if it is

a means of showing that      has a financial stake in delivering      testimony. Production is

therefore premature.

V.      PROTECTION IN THE EVENT OF PRODUCTION

        Finally, should the Court order               to produce any of the documents set out in

the subpoena,     requests that: (i) any banking documents produced be limited to           opening

and closing balances for any given month, as there is no conceivable basis for the production of

documents that show every financial interaction                 took part in over a

period; and (ii) that any production be protected from disclosure. The documents Defendant

seeks are private and the financial documents sought will also contain sensitive personal

identifying information. For that reason,                respectfully requests that any such

production be made pursuant to the Protective Order in this case, or a newly drafted Protective

Order of a similar scope made applicable to third parties, that will protect    privacy rights and

personal information. Dkt. No. 26.




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                                     CONCLUSION

      For the reasons mentioned supra,           respectfully requests that the Court quash

Defendant’s subpoena.


Dated: April 2, 2025
       New York, New York                     Respectfully submitted,

                                              WIGDOR LLP


                                              By: ___________________________
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                        Exhibit A
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